Case 2:25-cv-00244-LK   Document 18-2   Filed 02/07/25   Page 1 of 3




               Exhibit B
            Case 2:25-cv-00244-LK                          Document 18-2                                    Filed 02/07/25   Page 2 of 3




EXHIBIT B
TABLE 1: Strength of Recommendation and Quality of Evidence in Recommendations Made by
the Endocrine Society




                                                  Assessment, Treatment, and




                                                                               21-Hydroxylase Deficiency
                       Gender-Dysphoric/Gender-




                                                                               Hyperplasia Due to Steroid
                       Endocrine Treatment of

                       Incongruent Persons




                                                                               Congenital Adrenal
                                                  Pediatric Obesity-
    Strength of the




                                                  Prevention
    Recommendation/
    Quality of the
    Evidence1

    Strong|High        0 (0)2                     0 (0)                        0 (0)
    Strong|Moderate    3 (11)                     4 (13)                       18 (33)
    Strong|Low         5 (18)                     6 (20)                       13 (25)
    Strong|Very Low    2 (7)                      1 (3)                        1 (2)
    Weak|High          0 (0)                      0 (0)                        0 (0)
    Weak|Moderate      0 (0)                      0 (0)                        2 (4)
    Weak|Low           9 (32)                     5 (17)                       4 (7)
    Weak|Very Low      3 (11)                     12 (40)                      7 (13)
    Ungraded Good      6 (21)                     2 (7)                        9 (17)
    Practice
    Statement3
    Either Low or      19 (68)                    24 (80)                      25 (46)
    Very Low
    Total              28                         30                           54
1
  Quality of the Evidence
High: “Consistent evidence from well-performed RCTs [Randomized Controlled Trials] or
exceptionally strong evidence from unbiased observational studies”
Moderate: “Evidence from RCTs with important limitations (inconsistent results, methodological
flaws, indirect or imprecise evidence), or unusually strong evidence from unbiased observational
studies”
Low: “Evidence for at least one critical outcomes from observational studies, from RCTs with
serious flaws, or indirect evidence”
Very Low: “Evidence for at least one of the critical outcomes from unsystematic clinical
observations or very indirect evidence”
See Swiglo BA, Murad MH, Schünemann HJ, et al. A case for clarity, consistency, and
helpfulness: State-of-the-art clinical practice guidelines in endocrinology using the grading of
recommendations, assessment, development, and evaluation system. J Clin Endocrinol Metab.
2008;93(3):666-73.
2
    n (%)
       Case 2:25-cv-00244-LK         Document 18-2        Filed 02/07/25     Page 3 of 3



3
 Ungraded Good Practice Statement: “Direct evidence for these statements was either
unavailable or not systematically appraised and considered out of the scope of this guideline. The
intention of these statements is to draw attention to these principles.” See Hembree WC, Cohen-
Kettenis PT, Gooren L, et al. Endocrine treatment of gender-dysphoric/gender-incongruent
persons: An Endocrine Society clinical practice guideline. J Clin Endocrinol Metab.
2017;102(11):3869-3903.

Guidelines:
Hembree WC, Cohen-Kettenis PT, Gooren L, et al. Endocrine treatment of gender-
dysphoric/gender-incongruent persons: An Endocrine Society clinical practice guideline. J Clin
Endocrinol Metab. 2017;102(11):3869-3903.
Styne DM, Arslanian SA, Connor EL, et al. Pediatric obesity-assessment, treatment, and
prevention: An Endocrine Society clinical practice guideline. J Clin Endocrinol Metab.
2017;102(3):709-757.
Speiser PW, Arlt W, Auchus RJ, et al. Congenital adrenal hyperplasia due to steroid 21-
hydroxylase deficiency: An Endocrine Society clinical practice guideline. J Clin Endocrinol
Metab. 2018;103(11):4043-4088.
